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  In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 24-784V
                                         UNPUBLISHED

 ASHLEY PHILLIPS on behalf of her
 minor child, E.A.,                                            Chief Special Master Corcoran
                         Petitioner,
 v.                                                            Filed: February 18, 2025
 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.

                             ORDER CONCLUDING PROCEEDINGS1

       On May 21, 2024, Ashley Phillips filed a petition for compensation on behalf of
her minor child, E.A., under the National Vaccine Injury Compensation Program, 42
U.S.C. § 300aa—10 through 34.2 Petitioner alleged that E.A. suffered injuries after
receiving human papillomavirus vaccinations on May 24, 2021, and June 1, 2022. ECF
No. 1.

       Because a decision had not been issued within the time specified in Vaccine
Rule 10(b), a notice issued advising that “that the petitioner may withdraw the petition
under section 300aa—21(b) of this title or the petitioner may choose under section
300aa—21(b) of this title to have the petition remain before the special master.” 42
U.S.C. § 300aa—12(g). On February 12, 2025, Petitioner timely filed a notice to
withdraw the petition pursuant to 42 U.S.C. § 300aa—21(b).

        In light of Petitioner’s election to withdraw the petition pursuant to 42 U.S.C. §
300aa—21(b) (promulgated as Vaccine Rule 10(d)), Petitioner’s request to withdraw the
petition is GRANTED. Accordingly, this Order hereby notifies the Clerk of Court that
proceedings “on the merits” of this petition are now concluded, but no judgment
“on the merits” should be entered by the Clerk’s Office.

IT IS SO ORDERED.
                                                    s/Brian H. Corcoran
                                                    Brian H. Corcoran
                                                    Chief Special Master

1 Because this Order contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic
Government Services). This means the Order will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
